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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

   NICHELE Y. MORGAN
   and TACOVIA N. MCCULLOR,

         Plaintiffs,

   v.                                                   CASE NO. 8:17-cv-2394-T-23CPT

   NORTH PORT RETIREMENT
   CENTER, INC. and ZIA BUTT,

         Defendants.
   ____________________________________/


                                           ORDER

         Suing under the FLSA, Nichele Morgan and Tacovia McCullor allege

   (Doc. 20) that North Port Retirement Center and Zia Butt failed to pay

   time-and-a-half when the plaintiffs worked more than forty hours in a week at the

   defendants’ assisted-living facility in Sarasota. The defendants move (Doc. 27) to

   dismiss for failure to state a claim, and the plaintiffs move (Doc. 16) for conditional

   certification of a collective action under 29 U.S.C. § 216(b).

   1. Motion to dismiss

         Tacitly attempting to invoke Rule 9(b)’s “particularity” requirement, the

   defendants insist that the plaintiffs must identify the weeks in which the plaintiffs

   worked more than forty hours and the amount of overtime owed. Cf. United States ex

   rel. Clausen v. Lab. Corp. of Am., Inc., 290 F.3d 1301 (11th Cir. 2002) (holding that the
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   Rule 9(b) requires the relator in a False Claims Act qui tam action to allege the day

   and the amount of a fraudulent claim). But Rule 9(b) applies only if a plaintiff alleges

   “fraud or mistake.” Rule 8(a), which governs an FLSA claim, requires only a “short

   and plain” statement showing the plaintiff’s right to relief. See Bell Atlantic v.

   Twombly, 550 U.S. 544 (2007). The complaint alleges that the FLSA covered the

   plaintiffs, that the plaintiffs occasionally worked more than forty hours in a week,

   and that the defendants failed to pay time-and-a-half when the plaintiffs worked more

   than forty hours in a week. (Doc. 20 at ¶¶ 26–28) Because these allegations of fact

   show the plaintiffs’ right to overtime, the plaintiffs state a claim under the FLSA.

   2. Motion for conditional certification of a collective action

          Section 216(b) of the FLSA permits an employee to sue in behalf of herself and

   another “similarly situated” employee. The plaintiffs request the conditional

   certification of this class:

              All hourly employees of Defendants who, at any time during the last
              three (3) years, were not paid full and proper overtime compensation
              for all hours worked over forty (40) in one or more workweeks.

   (Doc. 16 at 1) Also, the plaintiffs request leave to notify the prospective class about

   this action through both mail and e-mail. (Doc. 16-4)

          Conditional certification of a collective action requires the plaintiff to show

   that other “similarly situated” employees might join the action. At the beginning of

   the litigation, the determination whether other employees are “similarly situated”


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   depends on the complaint and the record evidence. Hipp v. Liberty Nat. Life Ins. Co.,

   252 F.3d 1208, 1217–19 (11th Cir. 2001) (citing with approval Mooney v. Aramco

   Servs. Co., 54 F.3d 1207 (5th Cir. 1995)). Although Section 216 requires similar, not

   identical, employment of the plaintiff and a putative class member, the fact that the

   plaintiff and another employee worked for the same employer fails (absent the

   defendants’ uniform treatment of the employees or absent other similarities between

   the employees’ jobs and pay) to satisfy the “similarity” requirement. See, e.g., Marsh

   v. Butler Cty. School Sys., 242 F.Supp.2d 1086, 1094 (M.D. Ala. 2003). In addition to

   working for the same employer, the plaintiff and a putative class member typically

   must “[be] similarly situated with respect to their job requirements and with regard to

   their pay provisions.” Dybach v. State of Fla. Dep’t of Corrections, 942 F.2d 1562,

   1567–68 (11th Cir. 1991) (internal quotation omitted).

          Although the complaint repeats the phrase “similarly situated” six times, no

   facts in the complaint describe the plaintiffs’ duties, pay, or other proposed

   “similarities” in the employees’ treatment. The complaint includes one

   uninformative allegation about the plaintiffs’ employment: the plaintiffs are

   “non-exempt, hourly paid employees.” (Doc. 20 at ¶¶ 3, 26) Rather than support the

   plaintiffs’ motion for conditional certification, the declarations (Docs. 16-1 through

   16-3) submitted by the plaintiffs suggest several dissimilarities in the putative class.

   Plaintiff Nichele Morgan affirms that she worked at the Sarasota facility from


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   September 2016 through September 2017 as a “Medtech/Caregiver.” In that

   capacity, Morgan dispensed medication, “appl[ied] creams” to the residents’ skin,

   and performed unspecified “miscellaneous” tasks. (Doc. 16-1 at 2) Plaintiff Tacovia

   McCullor, whose declaration fails to identify her title, attests to “serving food to

   residents.” (Doc. 16-2 at 2) Andrea Matthis, a “Caregiver/Dietary Aid,” attests to

   serving meals and “providing hands[-]on assistance with the activities of daily

   living.” (Doc. 16-3 at 2)

         That the proposed class covers both a server and an aide tasked with

   dispensing medication suggests the unsuitability of a collective action for resolving

   this litigation, and Zia Butt’s affidavit confirms that suspicion. Butt, the president of

   the Sarasota facility, identifies five departments (“Resident Care, Dietary, Activities,

   Maintenance, and Housekeeper”) at the facility, which employs more than forty

   people. (Doc. 23-1 at 3–4) Butt affirms that the employees’ duties and pay vary by

   department. (Doc. 23-1 at 3) As explained above, Dybach cautions that Section 216

   typically requires similarity between the employees’ “job requirements” and “pay

   provisions.” In this instance, the employees’ differing “job requirements” and “pay

   provisions” preclude certifying a collective action at this time, and the plaintiffs

   identify no other pertinent similarity that warrants certifying a collective action. See,

   e.g., Mackenzie v. Kindred Hosp. East, L.L.C., 276 F.Supp.2d 1211, 1220–1221 (M.D.

   Fla. 2003) (denying a motion for conditional certification of a collective action where


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   the proposed class “includes a diverse group of pharmacists with different titles and

   job duties”); Davis v. Charoen Pokphand (USA), Inc., 303 F.Supp.2d 1272, 1277–78

   (M.D. Ala. 2004) (denying a motion for conditional certification of a collective

   action where the plaintiffs defined the class to include “all similarly situated

   employees (current and former) of Defendant who were subject to the uniform policy

   of not paying overtime”); Gross v. Pelican Point Seafood of Tarpon Springs, LLC, 2017

   WL 3316632 (M.D. Fla. Aug. 3, 2017) (denying a motion for conditional

   certification of a collective action that “presumably cover[ed] nearly every

   employee,” including those in four departments).

          Also, the plaintiffs — who worked at North Port’s assisted-living facility in

   Sarasota — propose to certify a collective action comprising “all hourly employees of

   Defendants.” The records of the Agency for Health Care Administration, which

   regulates assisted-living facilities in Florida, show that North Port manages at least

   four facilities in Florida.1 Matthis’s declaration fails to identify the facility at which

   Matthis worked, and nothing in the complaint or the declarations suggests an FLSA

   violation outside the Sarasota facility.

          Additionally, the affidavits fail to evidence a pervasive practice of paying less

   than time-and-a-half to employees who worked more than forty hours weekly.


          1
            The Gardens of North Port (license no. 10843); The Gardens of Venice (license no. 12423),
   Sandhill Gardens Retirement Center (license no. 9905), and North Port Retirement Center (license
   no. 7860).

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   Although the declarations evidence the defendants’ uniform practice of maintaining

   two sets of time-cards, the disputed practice in this action is not the recording of

   employees’ overtime hours on a separate time-card but rather the alleged failure to

   pay time-and-a-half for the overtime hours. The declarations, which fail to identify

   by name other employees who worked more than forty hours weekly without

   receiving time-and-a-half, provide little or no evidence of a prevalent practice of

   requiring each employee to work more than forty hours weekly without the payment

   of time-and-a-half. At most, Matthis’s declaration suggests one employee similarly

   situated to a plaintiff.

                                       CONCLUSION

          Based on three vague and conclusory declarations, the plaintiffs (who worked

   at the Sarasota facility) aspire to certify conditionally a class comprising all of the

   current and former employees of four facilities throughout southwestern Florida.

   Butt’s declaration affirms that the employees’ duties and pay vary by job, and the

   plaintiffs’ declarations confirm that the employees perform different jobs. And the

   plaintiffs identify no uniform practice that results in systemic FLSA violations.

   Because the putative class fails to meet Section 216’s “similarity” requirement, the

   motion (Doc. 16) for conditional certification of a collective action is DENIED. The

   request (Doc. 16 at 1) for leave to notify the putative class about this action is

   DENIED. Because the plaintiffs allege facts sufficient to state a claim, the motion


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   (Doc. 27) to dismiss is DENIED. Because the plaintiffs fail to show that Gabrielle

   Peavy is similarly situated to the plaintiffs, Peavy’s notice (Doc. 12) of consent to join

   this action is STRICKEN, and Peavy’s FLSA claim is DISMISSED WITHOUT

   PREJUDICE. Already parties to this action, Morgan and McCullor cannot “join”

   the action. Morgan’s and McCullor’s notices (Docs. 10 and 11) of consent to join

   this action are STRICKEN.

         ORDERED in Tampa, Florida, on February 28, 2018.




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